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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
VICTORIA DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

Vv. CASE NO. 6:18-cv-00053
TROY MORELAND, ASHLEY MORELAND,
FIRST STATE BANCSHARES OF
YOAKUM, INC., AND OCWEN

FINANCIAL CORPORATION,

CGP 6OR O02 60D 808 Gon CO? 6 62 603 60? COD

Defendants.
FIRST STATE BANCSHARES OF YOAKUM INC., ORIGINAL ANSWER AND
GENERAL DENIAL
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES, FIRST STATE BANCSHARES OF YOAKUM (“BANK”), Defendant
Lienholder, in the above-entitled and numbered cause, and files this Original Answer and General
Denial to Plaintiffs Complaint on file herein, and for such Answer would respectfully show unto
the Court as follows:

GENERAL DENIAL
I.

For the purpose of properly placing the burden of proof herein, BANK denies generally the
allegations contained in Plaintiff's Complaint, and requires that Plaintiff come forward before the
Court and prove their allegations by a preponderance of the evidence as required by the United

States Constitution.

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Il.
BANK asserts a valid and existing lien upon the proceeds of the sale of the real estate,
subject to the lawful priorities as determined by this Court.
WHEREFORE, FIRST STATE BANCSHARES OF YOAKUM prays that upon final
hearing that this Court determine the validity and extent of the various liens priorities in the

proceeds of the sale, and that BANK have such other and further relief to which it is justly entitled.

Respectfully submitted,

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FIRST STATE BANCSHARES OF YOAKUM, INC.

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing Original Answer and
General Denial was served upon the following by depositing the same in the United States mail,
postage prepaid, on this 17th day of AUGUST, 2018.

Ryan K, Patrick, United States Attorney
Moha P. Yepuri, Attorney

U.S. Department of Justice

717 N. Harwood, Suite 400

Dallas, Texas 75201

 

 

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